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QRDER TO DISMISS

Upon the motion of the United Stabes of Americn, the Court hereby orders charm Bill of

lndictmcnt in this matter be dismissed without pmjudice.
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